Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 1 of 22 Page ID #:4453



    1   ROB BONTA
        Attorney General of California
    2   SARAH E. MORRISON, SBN 143459
    3   TIMOTHY E. SULLIVAN, SBN 197054
        Supervising Deputy Attorneys General
    4   DAVID ZAFT, SBN 237365
        DENNIS A. RAGEN, SBN 106468
    5   ELIZABETH B. RUMSEY, SBN 257908
    6   JON TANGONAN, SBN 216705
        AARTI S. KEWALRAMANI, SBN 247068
    7   DONALD A. ROBINSON, SBN 72402
        Deputy Attorneys General
    8   300 South Spring Street Suite 1702
        Los Angeles, CA 90013
    9   Phone: (213) 259-6372
   10   Fax: (213) 897-2802
        E-mail: David.Zaft@doj.ca.gov
   11
        Attorneys for Plaintiffs
   12   California Department of Toxic Substances Control
        and the Toxic Substances Control Account
   13
   14                   IN THE UNITED STATES DISTRICT COURT
   15                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
   16                                  WESTERN DIVISION
   17
   18
        CALIFORNIA DEPARTMENT OF                      2:20-cv-11293-SVW-JPR
   19   TOXIC SUBSTANCES CONTROL
        and the TOXIC SUBSTANCES               ANSWER OF PLAINTIFFS
   20   CONTROL ACCOUNT,                       CALIFORNIA DEPARTMENT OF
                                               TOXIC SUBSTANCES CONTROL,
   21                              Plaintiffs, AND TOXIC SUBSTANCES
                                               CONTROL ACCOUNT TO
   22            v.                            COUNTERCLAIMS OF
                                               DEFENDANT GOULD
   23   NL INDUSTRIES, INC., et al.,           ELECTRONICS INC.
   24                                Defendants.
   25                                    Judge:        Hon. Stephen V. Wilson
      __________________________________ Trial Date: TBD
   26                                    Action Filed: December 14, 2020
      AND RELATED COUNTERCLAIMS
   27 AND THIRD-PARTY COMPLAINT
   28

                      PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                        (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 2 of 22 Page ID #:4454



    1         Plaintiffs California Department of Toxic Substances Control (“DTSC”) and
    2   the Toxic Substances Control Account (collectively, “Plaintiffs”) answer each of
    3   the Counterclaims of Defendant Gould Electronics Inc. (“GEI”) as follows:
    4                              JURISDICTION AND VENUE
    5         1.     In response to Paragraph 1, Plaintiffs admit that the Court has
    6   jurisdiction over GEI’s First, Second, and Third Counterclaims in 28 U.S.C. § 1331
    7   and 42 U.S.C. § 9613(b), but not its Fourth and Fifth Counterclaims. Plaintiffs deny
    8   that the Court has supplemental jurisdiction over the Fourth and Fifth
    9   Counterclaims because those counterclaims are not compulsory. Plaintiffs deny
   10   each and every remaining allegation in Paragraph 1.
   11         2.     In response to Paragraph 2, Plaintiffs admit the allegations in the
   12   paragraph.
   13                                            PARTIES
   14         3.     In response to Paragraph 3, Plaintiffs admit the allegations in the
   15   paragraph.
   16         4.     In response to Paragraph 4, Plaintiffs admit the allegations in the first
   17   sentence of the paragraph. The second sentence of Paragraph 4 contains statements
   18   and/or conclusions of law that need not be answered at this stage in the litigation.
   19         5.     In response to Paragraph 5, Plaintiffs admit the allegations in the
   20   paragraph.
   21                               GENERAL ALLEGATIONS
   22         6.     In response to Paragraph 6, Plaintiffs admit that the Hazardous Waste
   23   Control Law, Cal. Health and Safety Code (“HWCL”), § 25100 et seq., includes
   24   DTSC’s authority to administer and enforce requirements regarding hazardous
   25   waste. To the extent that the allegations in Paragraph 6 characterize the contents of
   26   the HWCL, the statute speaks for itself and is the best evidence of its contents, and
   27   Plaintiffs deny the allegations to the extent that they are inconsistent with that
   28   statute. Plaintiffs further admit that the federal Resource Conservation and
                                                      2
                        PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                          (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 3 of 22 Page ID #:4455



    1   Recovery Act (“RCRA”), 42 U.S.C. § 6901 et seq., includes provisions relating to
    2   DTSC’s authority under that federal law. To the extent that the allegations in
    3   Paragraph 6 characterize the contents of RCRA, the statute speaks for itself and is
    4   the best evidence of its contents, and Plaintiffs deny the allegations to the extent
    5   that they are inconsistent with that statute. In connection therewith, Plaintiffs
    6   affirmatively allege that the HWCL’s requirements are as strict or stricter than the
    7   analogous requirements in RCRA.
    8         7.     In response to Paragraph 7, Plaintiffs admit that the Comprehensive
    9   Environmental Response, Compensation, and Liability Act (“CERCLA”), 42
   10   U.S.C. §§ 9601 et seq., imposes liability on several classes of persons, including
   11   past owners and operators. To the extent that the allegations in Paragraph 7
   12   characterize CERCLA’s liability provisions, the statute speaks for itself and is the
   13   best evidence of its contents, and Plaintiffs deny the allegations to the extent that
   14   they are inconsistent with that statute.
   15         8.     Paragraph 8 contains statements and/or conclusions of law that need
   16   not be answered at this stage in the litigation.
   17         9.     Paragraph 9 contains statements and/or conclusions of law that need
   18   not be answered at this stage in the litigation.
   19         10.    Paragraph 10 contains statements and/or conclusions of law that need
   20   not be answered at this stage in the litigation.
   21         11.    In response to Paragraph 11, Plaintiffs admit that, included within its
   22   present statutory authority, DTSC administers a hazardous waste permitting
   23   program for hazardous waste facilities in California. Plaintiffs further admit that the
   24   Vernon Plant (“Vernon Plant,” as described in Paragraphs 41 and 42 of Plaintiffs’
   25   Complaint) has not received a final hazardous waste facility permit. Plaintiffs deny
   26   each and every remaining allegation in Paragraph 11.
   27         12.    In response to Paragraph 12, Plaintiffs admit that a former owner or
   28   operator of the Vernon Plant filed a RCRA Part A application with the United
                                                      3
                        PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                          (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 4 of 22 Page ID #:4456



    1   States Environmental Protection Agency (“EPA”) on or about August 8, 1980 and
    2   that the State of California Department of Health Services (“DHS”) received
    3   notification on November 19, 1980, that the Part A application had been filed.
    4         13.    In response to Paragraph 13, Plaintiffs admit that, on or about
    5   December 18, 1981, DHS issued an “Interim Status Document” for the operation of
    6   the Vernon Plant. Plaintiffs deny each and every remaining allegation in Paragraph
    7   13.
    8         14.    In response to Paragraph 14, the allegations in the first sentence appear
    9   to be based on a February 2, 1982 letter from a former owner or operator of the
   10   Vernon Plant to DHS. As to the second sentence of Paragraph 14, Plaintiffs admit
   11   that on February 18, 1982, EPA returned the RCRA Part A application submitted
   12   by the former owner or operator of the Vernon Plant. To the extent Paragraph 14
   13   contains allegations describing the contents, nature or effects of these
   14   correspondences, they speak for themselves and are the best evidence of their
   15   contents. To the extent the allegations are inconsistent with these documents,
   16   Plaintiffs lack sufficient information or belief to admit or deny such allegations and,
   17   on that basis deny such allegations.
   18         15.    In response to Paragraph 15, Plaintiffs admit that various documents
   19   and correspondence between DHS and a former owner or operator of the Vernon
   20   Plant, regarding the topic of Interim Status Document rescission, exist. Those
   21   documents speak for themselves. As to remaining allegations in Paragraph 15,
   22   Plaintiffs lack sufficient information or belief to admit or deny such allegations and,
   23   on that basis deny such allegations, and such allegations contain legal conclusions
   24   not requiring a response at this time.
   25         16.    In response to Paragraph 16, Plaintiffs admit that a September 1987
   26   DHS letter confirms that an Interim Status Document was in effect for the Vernon
   27   Plant. Plaintiffs deny each and every remaining allegation in Paragraph 16.
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                        PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                          (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 5 of 22 Page ID #:4457



    1         17.    In response to Paragraph 17, Plaintiffs admit that a former owner or
    2   operator of the Vernon Plant submitted a revised RCRA Part A application dated
    3   July 5, 1985, and that the application was received by DHS on July 8, 1985.
    4         18.    In response to Paragraph 18, Plaintiffs admit that DHS advised a via
    5   letter dated August 26, 1986, former owner or operator of the Vernon Plant of the
    6   need for a facility permit . Plaintiffs deny remaining allegations of Paragraph 18.
    7         19.    In response to Paragraph 19, Plaintiffs admit that a former owner or
    8   operator of the Vernon Plant filed a RCRA Part B application on or about
    9   November 7, 1988.
   10         20.    Paragraph 20 contains statements and/or conclusions of law that need
   11   not be answered at this stage in the litigation. To the extent that Paragraph 20
   12   contains allegations describing the requirements of California Health and Safety
   13   Code section 25200.11(a), the statute speaks for itself and is the best evidence of its
   14   contents, and Plaintiffs deny the allegations to the extent that they are inconsistent
   15   with that statute.
   16         21.    In response to Paragraph 21, Plaintiffs admit that the Vernon Plant was
   17   operating pursuant to an Interim Status Document in July 1993, and as of that time
   18   DTSC had not formally issued or denied a RCRA permit for the Vernon Plant. As
   19   to the second sentence of Paragraph 21, Plaintiffs admit that operations continued at
   20   the Vernon Plant without a final determination by DTSC on the permit application
   21   from 1993 through 1999. As to the remaining allegations of Paragraph 21, Plaintiffs
   22   lack sufficient information or belief to admit or deny such allegations and, on that
   23   basis deny such allegations.
   24         22.    In response to Paragraph 22, Plaintiffs deny the allegations in the
   25   paragraph.
   26         23.    In response to Paragraph 23, Plaintiffs admit that DTSC approved a
   27   Class 2 Interim Status modification for the Vernon Plant on December 13, 1999. To
   28   the extent that the allegations in Paragraph 23 describe the modification, the notice
                                                      5
                        PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                          (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 6 of 22 Page ID #:4458



    1   of approval of the Class 2 Interim Status modification speaks for itself and is the
    2   best evidence of its contents. As to the remaining allegations in this paragraph,
    3   Plaintiffs lack sufficient information or belief to admit or deny such allegations and,
    4   on that basis deny such allegations.
    5         24.    In response to Paragraph 24, Plaintiffs admit that DTSC approved a
    6   Class 2 Interim Status modification for the Vernon Plant on June 30, 2000. To the
    7   extent that Paragraph 24 describes the nature of the modification, the approval
    8   notice speaks for itself and is the best evidence of its contents, and Plaintiffs deny
    9   the allegations to the extent that they are inconsistent with that document.
   10         25.    In response to Paragraph 25, Plaintiffs admit that DTSC approved a
   11   Class 1 Interim Status modification for the Vernon Plant on January 5, 2001. To the
   12   extent that Paragraph 25 describes the nature of the modification, the approval
   13   notice speaks for itself and is the best evidence of its contents, and Plaintiffs deny
   14   the allegations to the extent that they are inconsistent with that document.
   15         26.    In response to Paragraph 26, Plaintiffs admit that the owners or
   16   operators of the Vernon Plant submitted revised permit applications on various
   17   dates between 1988 and 2006. Plaintiffs deny the remaining allegations of
   18   Paragraph 26.
   19         27.    In response to Paragraph 27, Plaintiffs admit that DTSC transmitted a
   20   request for information on or about April 30, 1992, and that the permit application
   21   was revised in June 1992. To the extent the allegations are inconsistent with these
   22   documents, Plaintiffs deny those allegations.
   23         28.    In response to Paragraph 28, Plaintiffs admit that a former owner or
   24   operator submitted a revised permit application in November 1993. To the extent
   25   that the allegations in Paragraph 28 describe the revised permit application, the
   26   revised permit application speaks for itself and is the best evidence of its contents,
   27   and Plaintiffs deny the allegations to the extent that they are inconsistent with that
   28   document.
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                        PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                          (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 7 of 22 Page ID #:4459



    1         29.    In response to Paragraph 29, Plaintiffs admit that a former owner or
    2   operator submitted a revised permit application in or about May 1997, and
    3   additional documents were dated February 1998, and transmitted to DTSC in April
    4   1998. To the extent that Paragraph 29 describes that revised permit application, the
    5   document speaks for itself and is the best evidence of its contents, and Plaintiffs
    6   deny the allegations in Paragraph 29 to the extent they are inconsistent with that
    7   document.
    8         30.    In response to Paragraph 30, Plaintiffs admit that the permit
    9   application was revised in November 2000. To the extent that Paragraph 30
   10   describes that revised permit application, the document speaks for itself and is the
   11   best evidence of its contents, and Plaintiffs deny the allegations in Paragraph 30 to
   12   the extent they are inconsistent with that document.
   13         31.    In response to Paragraph 31, Plaintiffs admit that Exide, which became
   14   the owner and operator of Vernon Plant in 2000, submitted a revised permit
   15   application in May 2002 in response to comments received from DTSC in an April
   16   2002 letter. To the extent that Paragraph 31 describes that revised permit
   17   application or the April 2002 letter, the document speaks for itself and is the best
   18   evidence of its contents, and Plaintiffs deny the allegations to the extent that they
   19   are inconsistent with that document. Plaintiffs deny each and every remaining
   20   allegation in Paragraph 31.
   21         32.    In response to Paragraph 32, Plaintiffs admit that Exide submitted a
   22   revised permit application in April 2006. To the extent that Paragraph 32 describes
   23   the revised permit application, the document speaks for itself and is the best
   24   evidence of its contents, and Plaintiffs deny the allegations to the extent that they
   25   are inconsistent with that document. Plaintiffs deny each and every remaining
   26   allegation in Paragraph 32.
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                        PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                          (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 8 of 22 Page ID #:4460



    1         33.    In response to Paragraph 33, Plaintiffs admit that DTSC made a draft
    2   permit available for public review on or about June 30, 2006. Plaintiffs deny the
    3   remaining allegations of Paragraph 33.
    4         34.    In response to Paragraph 34, Plaintiffs admit the Health Risk
    5   Assessment and an Environmental Impact Report were released in June 2006. To
    6   the extent that the allegations in Paragraph 34 describe the requirements of the
    7   California Environmental Quality Act, Cal. Public Resources Code §§ 21000 et
    8   seq., that statute speaks for itself and is the best evidence of its contents, and
    9   Plaintiffs deny the allegations in Paragraph 34 to the extent they are inconsistent
   10   with that statute. Plaintiffs deny the remaining allegations of Paragraph 34.
   11         35.    In response to Paragraph 35, Plaintiffs admit that via letter in
   12   December 2009, DTSC advised a former owner or operator of the Vernon Plant
   13   about DTSC’s receipt of public comments and the need for a revised permit
   14   application. As to the second sentence of Paragraph 35, Plaintiffs admit that Exide
   15   submitted a revised permit application in April 2010, which was subsequently
   16   updated on July 23, 2010. To the extent that Paragraph 35 contains allegations
   17   about the reasons for or content of DTSC’s correspondence or the revised permit
   18   application, these documents speak for themselves are the best evidence of their
   19   contents, and Plaintiffs deny the allegations to the extent that they are inconsistent
   20   with those documents.
   21         36.    In response to Paragraph 36, Plaintiffs admit the allegations in the
   22   paragraph and add that Exide submitted revised permit applications in September
   23   2011 and January 2013 in response to two notices of deficiency issued to Exide in
   24   December 2010 and August 2012.
   25         37.    In response to Paragraph 37, SB 712 is legislation which speaks for
   26   itself and is the best evidence of its contents, and Plaintiffs deny the allegations in
   27   Paragraph 37 to the extent they are inconsistent with SB 712. Plaintiffs admit that
   28   Exide withdrew its permit application pursuant to a 2015 Stipulation and Order
                                                      8
                        PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                          (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 9 of 22 Page ID #:4461



    1   Amendment entered into by Exide and DTSC. Plaintiffs deny the remaining
    2   allegations of Paragraph 37.
    3         38.    In response to Paragraph 38, Plaintiffs admit that DTSC and DHS
    4   never issued a final RCRA permit approval or final denial for the Vernon Plant
    5   prior to or in 2015. Plaintiffs deny the remaining allegations in Paragraph 38.
    6         39.    In response to Paragraph 39, Plaintiffs deny each and every allegation
    7   in the paragraph.
    8         40.    Paragraph 40 contains statements and/or conclusions of law that need
    9   not be answered at this stage in the litigation. To the extent that Paragraph 40
   10   contains allegations describing the requirements of California Health and Safety
   11   Code section 25200.10(b), the statute speaks for itself and is the best evidence of its
   12   contents, and Plaintiffs deny the allegations to the extent that they are inconsistent
   13   with the statute.
   14         41.    In response to the first sentence in Paragraph 41, Plaintiffs admit that
   15   DTSC and DHS never issued a final RCRA permit approval or final denial for the
   16   Vernon Plant prior to or in 2015. Plaintiffs deny that DTSC failed to act on the
   17   permit application or that it “thwarted” a requirement in California law. In response
   18   to the second sentence of the paragraph – specifically whether a corrective action
   19   requirement would have been in place at the Vernon Plant if certain actions had
   20   been taken by the specified date – Plaintiffs lack sufficient information or belief to
   21   admit or deny such allegations and, on that basis deny such allegations.
   22         42.    Paragraph 42 contains statements and/or conclusions of law that need
   23   not be answered at this stage in the litigation. To the extent that Paragraph 42
   24   contains allegations describing the requirements of California Health and Safety
   25   Code section 25200.10(b), the statute speaks for itself and is the best evidence of its
   26   contents and Plaintiffs deny the allegations in Paragraph 42 to the extent that they
   27   are inconsistent with that statute.
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                        PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                          (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 10 of 22 Page ID
                                 #:4462


 1         43.    In response to Paragraph 43, the statement regarding the date on which
 2   Health and Safety Code section 25200.11 requires “DTSC action” is a statement
 3   and/or conclusion of law that need not be answered at this stage of the litigation. To
 4   the extent that Paragraph 43 contains allegations describing California Health and
 5   Safety Code section 25200.11(a), the statute speaks for itself and is the best
 6   evidence of its contents, and Plaintiffs deny the allegations in Paragraph 43 to the
 7   extent they are inconsistent with that statute.
 8         44.    Paragraph 44 contains statements and/or conclusions of law that need
 9   not be answered at this stage in the litigation. To the extent that Paragraph 44
10   contains allegations describing California Health and Safety Code section
11   25200.10(b), the statute speaks for itself and is the best evidence of its contents, and
12   Plaintiffs deny the allegations in Paragraph 44 to the extent they are inconsistent
13   with that statute.
14         45.    In response to Paragraph 45, Plaintiffs lack sufficient information or
15   belief to admit or deny the allegations in the paragraph and, lacking sufficient
16   information and belief, deny the allegations in Paragraph 45.
17         46.    In response to Paragraph 46, Plaintiffs deny the allegations in the
18   paragraph.
19         47.    Paragraph 47 contains statements and/or conclusions of law that need
20   not be answered at this stage in the litigation. To the extent that the allegations in
21   Paragraph 47 characterize California hazardous waste laws, the statutes speak for
22   themselves and are the best evidence of their contents, and Plaintiffs deny such
23   allegations to the extent they are inconsistent with California law.
24         48.    In response to Paragraph 48, Plaintiffs lack sufficient information or
25   belief to admit or deny the allegations in the paragraph and, lacking sufficient
26   information and belief, deny the allegations in Paragraph 48.
27         49.    In response to Paragraph 49, Plaintiffs admit that Exide went through
28   bankruptcy proceedings three times during the time period stated in Paragraph 49.
                                                   10
                     PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                       (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 11 of 22 Page ID
                                 #:4463


 1   To the extent that the remaining allegations in Paragraph 49 summarize the
 2   bankruptcy court’s October 19, 2020 ruling, the bankruptcy court’s ruling speaks
 3   for itself and is the best evidence of its contents, and Plaintiffs deny the allegations
 4   to the extent that they are inconsistent with that document. Plaintiffs lack sufficient
 5   information or belief to respond to the allegations in the last sentence of Paragraph
 6   49, and, lacking sufficient information and belief, deny each and every remaining
 7   allegation in Paragraph 49.
 8          50.   Paragraph 50 contains statements and/or conclusions of law that need
 9   not be answered at this stage in the litigation. To the extent that Paragraph 50
10   contains allegations describing California Health and Safety Code section
11   25200.10(b), the statute speaks for itself and is the best evidence of its contents, and
12   Plaintiffs deny the allegations to the extent that they are inconsistent with the
13   statute.
14          51.   In response to Paragraph 51, the statement regarding the date on which
15   Health and Safety Code section 25200.11(a) requires “DTSC action” is a statement
16   and/or conclusion of law that need not be answered at this stage of the litigation. To
17   the extent that Paragraph 51 contains allegations describing Health and Safety Code
18   section 25200.11, the statute speaks for itself and is the best evidence of its
19   contents, and Plaintiffs deny the allegations to the extent they are inconsistent with
20   the statute. With respect to the remaining allegations in Paragraph 51, Plaintiffs
21   lack sufficient information or belief to admit or deny such allegations and, lacking
22   sufficient information and belief, deny such allegations.
23          52.   Paragraph 52 contains statements and/or conclusions of law that need
24   not be answered at this stage in the litigation.
25          53.   In response to Paragraph 53, the allegation with respect to DTSC’s
26   “statutory permitting obligations” is a statement and/or conclusion of law that need
27   not be answered at this stage of the litigation. With respect to the remaining
28   allegations in Paragraph 53, Plaintiffs lack sufficient information or belief to admit
                                                   11
                     PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                       (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 12 of 22 Page ID
                                 #:4464


 1   or deny such allegations and, lacking sufficient information and belief, deny such
 2   allegations.
 3          54.     Paragraph 54 contains statements and/or conclusions of law that need
 4   not be answered at this stage in the litigation. To the extent that Paragraph 54
 5   contains allegations describing California Health and Safety Code section
 6   25245(a)(1) and California Code of Regulations, title 22, sections 66264.101, this
 7   statute and this regulation speak for themselves and are the best evidence of their
 8   contents, and Plaintiffs deny the allegations to the extent that they are inconsistent
 9   with that statute and that regulation.
10          55.     In response to Paragraph 55, Plaintiffs admit that DTSC promulgated
11   the regulations in the California Code of Regulations, title 22, sections 66264.104 –
12   66264.151 pursuant to California Health and Safety Code § 25245(a)(1). To the
13   extent that the allegations in Paragraph 55 describe 22 CCR §§ 66264.140 –
14   66264.151 and California Health and Safety Code § 22245(a)(1), that regulation
15   and statute speak for themselves and are the best evidence of their contents, and
16   Plaintiffs deny the allegations to the extent it is inconsistent with the regulation and
17   statute.
18          56.     In response to Paragraph 56, Plaintiffs admit that DTSC promulgated
19   the regulation in the California Code of Regulations, title 22, sections 66264.101
20   pursuant to California Health and Safety Code § 25245(a)(1). To the extent that the
21   allegations in Paragraph 56 describe 22 CCR § 66264.101 and California Health
22   and Safety Code § 22245(a)(1), that regulation and statute speak for themselves and
23   are the best evidence of their contents, and Plaintiffs deny the allegations to the
24   extent it is inconsistent with the regulation and statute.
25          57.     In response to Paragraph 57, Plaintiffs deny each and every allegation
26   in the paragraph.
27          58.     In response to Paragraph 58, Plaintiffs deny the allegations in the
28   paragraph, but allege that DTSC was formed in 1991.
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                      PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                        (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 13 of 22 Page ID
                                 #:4465


 1         59.    Paragraph 59 contains statements and/or conclusions of law that need
 2   not be answered at this stage in the litigation. To the extent that Paragraph 59
 3   contains allegations describing California Health and Safety Code sections 25245
 4   (Article 12) and 25205(b), those statutes speak for themselves and are the best
 5   evidence of their contents, and Plaintiffs deny the allegations to the extent they are
 6   inconsistent with those statutes.
 7         60.    In response to Paragraph 60, Plaintiffs deny the allegations of the
 8   paragraph and allege DTSC was formed in 1991. To the extent that Paragraph 60
 9   contains allegations describing Article 12, the statutes comprising Article 12 speak
10   for themselves and are the best evidence of their contents, and Plaintiffs deny the
11   allegations to the extent they are inconsistent with those statutes.
12         61.    Paragraph 61 contains statements and/or conclusions of law that need
13   not be answered at this stage in the litigation. To the extent that Paragraph 61
14   contains allegations describing Article 12, the statutes comprising Article 12 speak
15   for themselves and are the best evidence of their contents, and Plaintiffs deny the
16   allegations to the extent they are inconsistent with those statutes. With respect to
17   the remaining allegations in Paragraph 61, Plaintiffs lack sufficient information or
18   belief to admit or deny such allegations and, lacking sufficient information or
19   belief, deny such allegations.
20         62.    Plaintiffs lack sufficient information or belief to respond to the
21   allegations in Paragraph 62 and, lacking such information or belief, deny each and
22   every allegation in Paragraph 62.
23         63.    Paragraph 63 contains statements and/or conclusions of law that need
24   not be answered at this stage in the litigation. To the extent that the allegation in
25   Paragraph 63 describe California Health and Safety Code sections 25200.5,
26   25200.14(a)-(d), and 25200.10(f)(1), those statutes speak for themselves and are the
27   best evidence of their contents, and Plaintiffs deny the allegation to the extent it is
28   inconsistent with those statutes.
                                                   13
                     PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                       (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 14 of 22 Page ID
                                 #:4466


 1         64.    In response to Paragraph 64, Plaintiffs admit that, on or about
 2   December 18, 1981, DTSC’s predecessor agency issued an “Interim Status
 3   Document” for the operation of the Vernon Plant. The remaining allegations
 4   contain statements and/or conclusions of law which do not need to be answered at
 5   this stage of the litigation. Plaintiffs deny each and every remaining allegation in
 6   Paragraph 64.
 7         65.    In response to the first sentence in Paragraph 65, Plaintiffs admit that a
 8   Phase I site assessment was conducted for the Vernon Plant, dated June 9, 1986.
 9   Plaintiffs lack sufficient information or belief to respond to the allegations in the
10   second and third sentences of Paragraph 65, and lacking sufficient information or
11   belief, deny each and every such allegation. Paragraph 65 contains statements
12   and/or conclusions of law which do not need to be answered at this stage in the
13   litigation. To the extent that the allegations in Paragraph 65 describe the contents of
14   California Health and Safety Code sections 25200.10(f)(1) and 25200.14(c), the
15   statutes speak for themselves and are the best evidence of their contents, and
16   Plaintiffs deny the allegations to the extent they are inconsistent with the statutes.
17   Plaintiffs deny each and every remaining allegation in Paragraph 65.
18         66.    Paragraph 66 contains statements and/or conclusions of law that need
19   not be answered at this stage in the litigation. To the extent the allegations in
20   Paragraph 66 describe California Health and Safety Code sections 25200.10(f)(3)
21   and 25200.14(a)-(d), the statutes speak for themselves and are the best evidence of
22   their contents, and Plaintiffs deny the allegations to the extent they are inconsistent
23   with those statutes.
24         67.    In response to Paragraph 67, Plaintiffs lack sufficient information or
25   belief to respond to the allegations in Paragraph 67, and lacking such information or
26   belief, deny each and every allegation in the paragraph.
27         68.    Paragraph 68 contains statements and/or conclusions of law that need
28   not be answered at this stage in the litigation. To the extent that the allegations in
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                     PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                       (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 15 of 22 Page ID
                                 #:4467


 1   Paragraph 68 describe provisions of California law, those provisions speak for
 2   themselves and are the best evidence of their contents, and Plaintiffs deny the
 3   allegations to the extent they are inconsistent with those provisions of California
 4   law.
 5          69.   Paragraph 69 contains statements and/or conclusions of law that need
 6   not be answered at this stage in the litigation. To the extent that Paragraph 69
 7   contains allegations describing provisions of California law, those provisions speak
 8   for themselves and are the best evidence of their contents, and Plaintiffs deny the
 9   allegations to the extent they are inconsistent with California law.
10          70.   In response to Paragraph 70, Plaintiffs admit that DTSC issued an
11   imminent and substantial endangerment determination, related to the Vernon Plant,
12   via a document dated on or around November 12, 2015, which document speaks for
13   itself. Plaintiffs deny the remaining allegations in Paragraph 70.
14          71.   In response to Paragraph 71, Plaintiffs admit that DTSC hired
15   contractors to conduct certain cleanup activities in the communities surrounding the
16   Vernon Plant. To the extent that Paragraph 71 contains statements and/or
17   conclusions of law that need not be answered at this stage in the litigation, such
18   allegations need not be answered at this stage in the litigation. Plaintiffs deny each
19   and every remaining allegation in Paragraph 71.
20          72.   In response to Paragraph 72, Plaintiffs admit the allegations in the
21   paragraph.
22          73.   In response to Paragraph 73, actions by the California Legislature,
23   including appropriations, are taken via documents that speak for themselves. To the
24   extent the allegations in this paragraph are inconsistent with the acts of the
25   Legislature, Plaintiffs deny any such allegations.
26          74.   In response to Paragraph 74, Plaintiffs deny each and every allegation
27   in the paragraph.
28
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                     PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                       (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 16 of 22 Page ID
                                 #:4468


 1         75.    In response to Paragraph 75, Plaintiffs deny each and every allegation
 2   in the paragraph.
 3         76.    Plaintiffs do not know whether the first sentence refers to contracts for
 4   the cleanup of contamination from the Vernon Plant or to all of DTSC’s cleanup
 5   contracts, nor do Plaintiffs know what measure GEI is using to determine what
 6   constitutes the “largest contracts” and on the foregoing bases, Plaintiffs deny the
 7   allegations in the paragraph. To the extent Paragraph 76 describes any specific
 8   contracts, the documents speak for themselves and are the best evidence of the
 9   provisions of such contracts, and Plaintiffs deny the allegations to the extent that
10   they are inconsistent with those documents.
11         77.    In response to Paragraph 77, Plaintiffs deny each and every allegation
12   in the paragraph.
13         78.    In response to Paragraph 78, Plaintiffs admit that DTSC hired a
14   consultant in connection with the residential cleanup of the contamination resulting
15   from the Vernon Plant’s operations. To the extent that Paragraph 78 describes the
16   consultant contract, the document speaks for itself and is the best evidence of its
17   contents, and Plaintiffs deny the allegations to the extent they are inconsistent with
18   that document. Plaintiffs deny each and every remaining allegation in Paragraph 78.
19         79.    In response to Paragraph 79, Plaintiffs do not know which contracts
20   are referenced in Paragraph 79 or what “several options” to which Defendant refers.
21   As such, Plaintiffs lack sufficient information to admit or deny the allegation in the
22   paragraph, and lacking sufficient information or belief, deny such allegation.
23   Plaintiffs affirmatively allege, in connection therewith, that many of DTSC’s
24   cleanup contracts contain both fixed-price and time-and-materials elements.
25         80.    In response to Paragraph 80, Plaintiffs lack sufficient information or
26   belief to respond to the allegations in the paragraph and, on that basis, deny each
27   and every allegation in the paragraph.
28
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                     PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                       (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 17 of 22 Page ID
                                 #:4469


 1         81.    In response to Paragraph 81, Plaintiffs deny each and every allegation
 2   in the paragraph.
 3         82.    In response to Paragraph 82, Plaintiffs deny each and every allegation
 4   in the paragraph.
 5         83.    In response to Paragraph 83, Plaintiffs deny each and every allegation
 6   in the paragraph.
 7                PLAINTIFFS’ ANSWER TO COUNTERCLAIM ONE
 8         84.    In response to Paragraph 83, Plaintiffs incorporate their responses to
 9   Paragraphs 1 through 83, inclusive, as though fully set forth herein.
10         85.    In response to Paragraph 85, to the extent the allegations in Paragraph
11   85 are based on allegations in Plaintiffs’ Complaint, the Complaint speaks for itself.
12   Paragraph 85 also contains statements and/or conclusions of law that need not be
13   answered at this stage in the litigation.
14         86.    Paragraph 86 contains statements and/or conclusions of law that need
15   not be answered at this stage in the litigation.
16         87.    In response to Paragraph 87, Plaintiffs admit that DTSC has been
17   involved in residential cleanup efforts in connection with the Vernon Plant since
18   2015. The allegations in second and third sentences of Paragraph 87 contain
19   statements and/or conclusions of law that need not be answered at this stage in the
20   litigation. Plaintiffs deny each and every remaining allegation in Paragraph 87.
21         88.    In response to Paragraph 88, the allegations in this paragraph contain
22   statements and/or conclusions of law that need not be answered at this stage in the
23   litigation. Plaintiffs deny each and every remaining allegation in Paragraph 88.
24         89.    In response to Paragraph 89, Plaintiffs deny each and every allegation
25   in the paragraph.
26         90.    In response to Paragraph 90, Plaintiffs deny each and every allegation
27   in the paragraph.
28
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                     PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                       (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 18 of 22 Page ID
                                 #:4470


 1          91.     In response to the first sentence of Paragraph 91, and based on
 2   Paragraph 142 in GEI’s Answer, Plaintiffs admit that GEI has denied liability, but
 3   Plaintiffs do not admit that GEI is not liable. The second sentence in this paragraph
 4   contains speculation about future events that do not require a response.
 5          92.     In response to Paragraph 92, Plaintiffs deny each and every allegation
 6   in the paragraph.
 7                 PLAINTIFFS’ ANSWER TO COUNTERCLAIM TWO
 8          93.     In response to Paragraph 93, Plaintiffs incorporate their responses to
 9   Paragraphs 1 through 92, inclusive, as though fully set forth herein.
10          94.     In response to Paragraph 94, the allegations in the paragraph contain
11   statements and/or conclusions of law that need not be answered at this stage in the
12   litigation.
13          95.     In response to Paragraph 95, Plaintiffs admit that GEI is seeking a
14   declaratory judgment against DTSC under 42 U.S.C. § 9613(g)(2), but Plaintiffs
15   deny that GEI is entitled to such relief. Plaintiffs deny each and every remaining
16   allegation in Paragraph 95.
17                 PLAINTIFFS’ ANSWER TO COUNTERCLAIM THREE
18          96.     In response to Paragraph 95, Plaintiffs incorporate their responses to
19   Paragraphs 1 through 95, inclusive, as though fully set forth herein.
20          97.     In response to Paragraph 97, Plaintiffs deny each and every allegation
21   in the paragraph.
22          98.     In response to Paragraph 98, Plaintiffs deny the allegations in the
23   paragraph.
24          99.     In response to the first sentence of Paragraph 99, and based on
25   Paragraph 142 in GEI’s Answer, Plaintiffs admit that GEI has denied liability, but
26   Plaintiffs do not admit that GEI is not liable. The second sentence in this paragraph
27   contains speculation about future events that do not require a response.
28
                                                    18
                      PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                        (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 19 of 22 Page ID
                                 #:4471


 1          100. In response to Paragraph 100, Plaintiffs deny each and every allegation
 2   in the paragraph.
 3               PLAINTIFFS’ ANSWER TO COUNTERCLAIM FOUR
 4          Plaintiffs need provide no responses to Paragraphs 92 through 98, inclusive,
 5   and do not include associated or related Affirmative Defenses, on the grounds
 6   Counterclaim Four has been dismissed by the Court. To the extent a response is
 7   required, Plaintiffs deny each and every allegation in Paragraphs 92 through
 8   98.
 9                PLAINTIFFS’ ANSWER TO COUNTERCLAIM FIVE
10          Plaintiffs need provide no responses to Paragraphs 108 through 114,
11   inclusive, and do not include associated or related Affirmative Defenses, on the
12   grounds Counterclaim Five has been dismissed by the Court. To the extent a
13   response is required, Plaintiffs deny each and every allegation in Paragraphs
14   108 through 114.
15         PLAINTIFFS’ ANSWER TO DEFENDANT’S PRAYER FOR RELIEF
16          Plaintiffs deny that GEI is entitled to any relief by reason of its
17   counterclaims.
18
19                                AFFIRMATIVE DEFENSES
20                                   First Affirmative Defense
21                                    (Failure to State a Claim)
22          Each of GEI’s counterclaims fails to state a claim against Plaintiffs upon
23   which relief can be granted.
24                                 Second Affirmative Defense
25                                     (Eleventh Amendment)
26          To the extent any counterclaims seek relief beyond defensive recoupment
27   (i.e., beyond the scope of liability imposed by 42 U.S.C. § 9607), they are barred by
28   the Eleventh Amendment.
                                                    19
                      PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                        (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 20 of 22 Page ID
                                 #:4472


 1                                Third Affirmative Defense
 2                               (CERCLA §§ 107(a), 113(g))
 3         Counterclaims One and Two are barred in that DTSC’s activities at the
 4   Vernon Plant and in the surrounding properties were within the scope of
 5   governmental agencies exercising regulatory functions, and such activities do not
 6   give rise to liability under CERCLA section 107(a) or CERCLA § 113(g).
 7                                Fourth Affirmative Defense
 8                                   (CERCLA § 107(b)(3))
 9         Counterclaims One and Two are barred in that any release or threat of release
10   of a hazardous substance at or from the Vernon Plant into the environment, and the
11   damages resulting therefrom, were caused solely by the act or omission of an
12   unrelated third party, as set forth in section 107(b)(3) of CERCLA.
13                                 Fifth Affirmative Defense
14                                   (CERCLA § 107(d)(1))
15         Counterclaims One and Two are barred by section 107(d)(1) of CERCLA, 42
16   U.S.C. § 9607(d)(1).
17                                 Sixth Affirmative Defense
18                                   (CERCLA § 107(d)(2))
19         Counterclaims One and Two are barred by section 107(d)(2) of CERCLA, 42
20   U.S.C. § 9607(d)(2).
21                               Seventh Affirmative Defense
22                    (Cal. Health and Safety Code sections 25323.5(a))
23         Counterclaim Three is barred in that DTSC’s activities at the Vernon Plant
24   and in the surrounding properties were within the scope of governmental agencies
25   exercising regulatory functions, and such activities do not make DTSC a
26   “responsible party” or “liable person,” as those terms are defined in section
27   25323.5(a) of the California Health and Safety Code.
28
                                                  20
                    PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                      (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 21 of 22 Page ID
                                 #:4473


 1                                  Eighth Affirmative Defense
 2                     (Cal. Health and Safety Code sections 25323.5(b))
 3         Counterclaim Three is barred in that any release or threat of release of a
 4   hazardous substance at or from the Vernon Plant into the environment, and the
 5   damages resulting therefrom, were caused solely by the act or omission of an
 6   unrelated third party, as set forth in section 25323.5(b) of the California Health and
 7   Safety Code.
 8                                  Ninth Affirmative Defense
 9                         (Cal. Health and Safety Code section 25400)
10         Counterclaim Three is barred on the grounds specified in California Health
11   and Safety Code section 25400.
12                                  Tenth Affirmative Defense
13                       (42 U.S.C. § 9607(o) (De micromis exception)
14         Counterclaims One, Two, and Three are barred on the grounds specified in
15   Section 107(o) of CERCLA, 42 U.S.C. § 9607(o).
16                                Eleventh Affirmative Defense
17                                         (Apportionment)
18         The harm and damages alleged by GEI in its counterclaims were directly and
19   proximately caused or contributed to by the intentional, negligent, and/or other acts
20   or omissions of GEI and the other Defendants. Therefore, any recovery by GEI on
21   its claims against Plaintiffs must be reduced in an amount equivalent to the harm
22   and damages caused by GEI and the other Defendants on the grounds of equitable
23   apportionment.
24                                 Twelfth Affirmative Defense
25                                    (Reservation of Defenses)
26         Plaintiffs allege that the counterclaims are stated in conclusionary terms, and
27   therefore Plaintiffs cannot fully anticipate all affirmative defenses that may be
28   applicable to this action. Accordingly, Plaintiffs hereby reserve their right to add
                                                    21
                      PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                        (2:20-CV-11293-SVW-JPR)
Case 2:20-cv-11293-SVW-JPR Document 191 Filed 10/08/21 Page 22 of 22 Page ID
                                 #:4474


 1   additional affirmative defenses, if and to the extent such affirmative defenses are
 2   applicable to this action.
 3
 4                                            PRAYER
 5         WHEREFORE, Plaintiffs pray as follows:
 6         1.      That GEI’s Counterclaims One, Two, Three, Four, and Five be
 7   dismissed;
 8         2.      That GEI take nothing by virtue of its Counterclaims;
 9         3.      That Plaintiffs recover their costs of suit, and
10         4.      That Plaintiffs be granted such further relief as the Court deems just
11   and proper.
12
      Dated: October 8, 2021                            Respectfully submitted,
13
                                                        ROB BONTA
14                                                      Attorney General of California
15                                                      SARAH E. MORRISON
                                                        TIMOTHY E. SULLIVAN
16                                                      Supervising Deputy Attorneys General
17
18                                                          /s/ David Zaft
                                                        DAVID ZAFT
19                                                      DONALD A. ROBINSON
                                                        Deputy Attorneys General
20
21                                                      Attorneys for Plaintiffs
                                                        California Department of Toxic
22                                                      Substances Control and the Toxic
                                                        Substances Control Account
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                     PLAINTIFFS’ ANSWER TO COUNTERCLAIMS OF GOULD ELECTRONICS, INC.
                                       (2:20-CV-11293-SVW-JPR)
